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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

    In re                                             )
                                                      )     Chapter 11
                                                      )
    BLACKJEWEL, L.L.C., et al. 1                      )     Case No. 19-30289
                                                      )
                          Debtors,                    )     (Jointly Administered)
                                                      )
                                                      )
    THE BLACKJEWEL LIQUIDATION                        )
    TRUST,                                            )     Chapter 11
                                                      )
                          Plaintiff                   )     Adversary Proceeding No. 21-03004
    vs.                                               )
                                                      )
    GENESIS TRUCKING, LLC,                            )
                                                      )
                          Defendant.                  )
                                                      )
                                                      )


                                      STIPULATION OF DISMISSAL

            Plaintiff The Blackjewel Liquidation Trust and Defendant Genesis Trucking, LLC,

pursuant to Fed. R. Civ. P. 41, as made applicable by Fed. R. Bankr. P. 7041, hereby stipulate and

agree, by and through their undersigned counsel, that this action is dismissed with prejudice to

refiling, and with each party to pay its own costs and fees.



DATED: April 11, 2022                              SUPPLE LAW OFFICE, PLLC

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1
  The former Debtors in these chapter 11 cases and the last four digits of each former Debtor’s former taxpayer
identification number are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation
Energy Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC (4605);
Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corporation (2785);
Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024); and Cumberland River Coal
LLC (2213).


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                                        – and –

                                      SQUIRE PATTON BOGGS (US) LLP

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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that the foregoing Stipulation of Dismissal
was filed and served upon counsel for Defendant via electronic mail this 11th day of April, 2022.


                                                            /s/ Scott A. Kane
                                                            Scott A. Kane




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